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18                             UNITED STATES DISTRICT COURT
19                                  DISTRICT OF NEVADA
20
21   DONALD J. TRUMP FOR PRESIDENT,           Case No. 2:20-cv-01445-JCM-VCF
     INC.; REPUBLICAN NATIONAL
22   COMMITTEE; and NEVADA
     REPUBLICAN PARTY,
23                                            NOTICE OF NON-OPPOSITION TO
                      Plaintiffs,             MOTION TO INTERVENE AS
24                                            DEFENDANTS (ECF NO. 9)
            v.
25
     BARBARA CEGAVSKE, in her official
26   capacity as Nevada Secretary of State,
27                    Defendant.
28
                                              1
     Case 2:20-cv-01445-JCM-VCF Document 30 Filed 08/20/20 Page 2 of 3



 1             Plaintiffs Donald J. Trump for President, Inc., the Republican National Committee, and the
 2   Nevada Republican Party, through their undersigned counsel, hereby provide notice of their non-
 3   opposition to the Motion to Intervene as Defendants filed on August 7, 2020 by DNC Services
 4   Corporation/Democratic National Committee, DCCC, and Nevada State Democratic Party (ECF
 5   No. 9).
 6
               Dated: August 20, 2020                       Respectfully submitted,
 7
 8                                                          /s/ J. Colby Williams
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     Case 2:20-cv-01445-JCM-VCF Document 30 Filed 08/20/20 Page 3 of 3



 1                                   CERTIFICATE OF SERVICE
 2          I hereby certify that on the 20th day of August, 2020 a true and correct copy of the foregoing
 3
     Notice of Non-Opposition to Motion to Intervene as Defendants (ECF No. 9) was served via the
 4
     United States District Court’s CM/ECF system on all parties or persons requiring such notice.
 5
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 7                                                         By: /s/ J. Colby Williams
                                                             An employee of Campbell & Williams
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